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              United States Court of Appeals
                   for the Fifth Circuit
                             _____________

                               No. 23-10326
                             _____________

Braidwood Management, Incorporated; John Scott
Kelley; Kelley Orthodontics; Ashley Maxwell;
Zach Maxwell; Joel Starnes,

                                       Plaintiffs-Appellees/Cross-Appellants,

                                     versus
Xavier Becerra, Secretary, U.S. Department of Health and Human
Services, in his official capacity as Secretary of Health and Human Services;
United States of America; Janet Yellen, Secretary, U.S.
Department of Treasury, in her official capacity as Secretary of the Treasury;
Julie A. Su, Acting Secretary, U.S. Department of Labor, in her official
capacity as Secretary of Labor,

                                  Defendants-Appellants/Cross-Appellees.
                             _____________

              Appeal from the United States District Court
                  for the Northern District of Texas
                        USDC No. 4:20-CV-283
                          _____________


Before Clement, Southwick, and Higginson, Circuit Judges.

Per Curiam:

    In light of the parties’ attached stipulation, the first paragraph of

item 3 in the district court’s judgment, ROA.2131-3132, is STAYED

pending this Court’s issuance of the mandate in this appeal.
